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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          :
Ondigo LLC                                :
                                          : CIVIL ACTION
                             Plaintiff    :
                                          :
 v.                                       : NO. 2:2020cv01126
                                          :
intelliARMOR LLC                          :
                                          :
                             Defendant    :
                                          :

                  PLAINTIFF’S PROPOSED FINDINGS OF FACT
                         AND CONCLUSIONS OF LAW

         Plaintiff, Ondigo LLC, respectfully submit Plaintiff’s Proposed

Findings of Fact and Conclusions of Law.

   I.         Proposed Findings of Fact

         1.     On or around July 2019, the parties entered into a purchase

order through which Ondigo LLC (“Ondigo”) contracted to purchase various

phone accessories for resale from intelliARMOR LLC (“intelliARMOR”) (the

“Purchase Order”).

         2.     The terms of the Purchase Order were silent regarding the

shipment or delivery date.

         3.     Prior to entering into the Purchase Order, the parties discussed

and agreed that the goods referenced in the Purchase Order would be shipped

within 60 days of the Purchase Order.

         4.     intelliARMOR led Ondigo to believe that all of the goods at issue

had all necessary MFI and/or ETL certifications required for production at


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the time of the Purchase Order. Ondigo therefore had no reason to anticipate

any delays to the agreed upon shipment dates on account of the MFI and ETL

certification processes.

      5.     Prior to the Purchase Order, intelliARMOR never informed

Ondigo that the goods contained in the Purchase Order were custom made

products.

      6.     On August 6, 2019, intelliARMOR received from Ondigo a

deposit in the amount of $45,595.00 for 50% of the price of the Purchase

Order.

      7.     In September 2019, intelliARMOR represented to Ondigo that

the goods from the Purchase Order would be shipped by September 15, 2019.

      8.     On October 17, 2019, Ondigo requested an update regarding the

status of the Purchase Order.

      9.     On October 18, 2019, intelliARMOR stated that the goods from

the Purchase Order would be shipped within 12 days.

      10.    On October 23, 2019, intelliARMOR stated that part of the

Purchase Order would be shipped immediately and that the rest of the

Purchase Order would be air shipped within 10 days.

      11.    On November 19, 2019, intelliARMOR notified Ondigo that part

of the Purchase Order was shipped on that date.

      12.    Part of the Purchase Order, consisting of 2,000 wall chargers,

was not included in the November 19, 2019 shipment.




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         13.     On or around November 20, 2019, Ondigo notified intelliARMOR

that it would not accept delivery of the Purchase Order.

         14.     On December 19, 2019, Ondigo notified intelliARMOR, via

email, that it would not accept delivery of the Purchase Order.

         15.     intelliARMOR never shipped the 2,000 wall chargers that

Ondigo ordered through the Purchase Order.

         16.     intelliARMOR refused to return the $45,595.00 deposit paid by

Ondigo.

         17.     Ondigo suffered lost profits in the amount of $90,000.00 as a

result of intelliARMOR’s failure to make timely shipment of the goods from

the Purchase Order.

   II.         Proposed Conclusions of Law

         1.      Prior to agreeing upon the Purchase Order, the parties

understood and agreed that intelliARMOR would ship the goods from the

Purchase Order within 60 days from the Purchase Order. Because the

Purchase Order was silent regarding the timing of shipment, the parties’

prior understanding and agreement as to the timing of shipment was

incorporated into the parties’ agreement.

         2.      The parties’ agreement as to the timing of shipment was never

modified by agreement of the parties.




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      3.     intelliARMOR’s failure to make timely shipment of the goods

from the Purchase Order constituted a material breach of the parties’

agreement.

      4.     Ondigo promptly terminated the parties’ agreement upon

learning that intelliARMOR delayed shipment beyond what had been

expressly promised by intelliARMOR.

      5.     Ondigo properly terminated the parties’ agreement before

intelliARMOR shipped a material portion of the Purchase Order.

      6.     Ondigo suffered damages in the amount of $135,595.00, plus

interest.



                                             Respectfully Submitted,



                                             ________________________
                                             DAVID HUSSEY
                                             Counsel for Plaintiff
   Dated: December 3, 2021




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